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DEPARTMEN.T oF HOMELAND sEcuRlTY
U.S. Customs and Border Protection

 

Port
4101

Date
01/24/2018

 

 

 

 

Clerk of the Court

U.S. Court of international Trade
1 Federal P|aza

New York, NY 10007

Re: U.S. Court of international Trade (Summons)
No. 17-00285 ' `

ln compliance with Section 2635 of Title 28, United States Code, there are transmitted herewith a
copy of the Protest(s) and Denial of Protest(s) required in connectionwith the above summons. There
are also transmitted all the additional items required by that section, which have been found to exist
for the above civil action, subject to the exceptions noted below. Any of the required items which are
not herewith submitted or noted below do not exist for this civil action.

 

EXCEPT|ON(S)

 

PROTEST NUl\/IBER ENTRY NUl\/IBER EXPLANAT|ON

 

 

 

 

 

Marc A. Hurt:eau
PORT DlRECTOR

 

oct Assistant Chief Counsel

 

suMMoNs oocuMENTATioN TRANSM\TTAL
cBP Form 322 (11/06)

 

